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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

JOHN DOE, )
Plaintiff, )
)

Vv. ) Case No. 1:17-cv-401
)
MARYMOUNT UNIVERSITY, etal, )
Defendants. )

MEMORANDUM OPINION
Plaintiff John Doe (“Doe”), a former student at Marymount University
(“Marymount”), was accused by a fellow student, Jane Roe (“Roe”), of sexual assault and
was ultimately suspended for two years after Marymount adjudicated Doe guilty of
sexual assault using Marymount’s then existing disciplinary procedures. Doe now brings
this action against three defendants - Marymount, Jane Roe, and Linda McMurdock,
Marymount’s Title IX coordinator — asserting various claims. Specifically, Doe sues:
i. Roe for defamation; '
ii. Marymount for Title IX gender discrimination, breach of
contract, breach of the covenant of good faith and fair

dealing and breach of the law of associations; and

 

' Roe’s motion to dismiss Doe’s defamation claim was resolved by a separate memorandum
opinion and order. See Doe v. Roe, et al., __ F.Supp.3d._, 1:17-cv-401 (E.D. Va. Jan. 31, 2018)
(granting in part and denying in part Roe’s motion to dismiss Doe’s defamation claim).
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iii Marymount and Linda McMurdock for breaching a
common law duty purportedly owed by Marymount and
its employees to Marymount’s students.
Marymount and McMurdock have moved to dismiss all of Doe’s claims against them.
The matter has been fully briefed and argued, and for the reasons that follow
Marymount and McMurdock’s motion to dismiss must be granted in part and denied in
part.
i’
A. The Incident
Doe was an undergraduate student at Marymount between August 2014 and
August 2016. His accuser, Jane Roe (“Roe”), was also a student at Marymount at that
time and ultimately graduated from Marymount in 2017.
Doe and Roe first came into contact with one another in November 2014, when
Roe contacted Doe by text message. The two arranged for Roe to visit Doe’s dorm room
on November 8, 2014. Roe arrived at Doe’s room at 6:06 p.m. and the two talked for
about twenty minutes in the presence of Doe’s roommate. When Doe’s roommate left,
Doe alleges he and Roe “began to make out” and “fondle each other,” but that they did
not touch one another’s genitals. Pl.’s Compl. § 65. Doe further claims that

approximately thirty (30) minutes later Roe got up and said she wanted to go visit some

 

* The facts recited here are derived from plaintiff's complaint and must be accepted as true at this
stage, as required by law. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

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other friends. Doe purportedly “stood up and leaned against the door, in a friendly,
playful effort to persuade [] Roe not to leave, [but] he did not forcefully restrain her from
leaving.” Jd. ] 67. Thereafter, according to Doe, Roe kissed him on the cheek, told him
she needed to meet some friends and then left his room without incident.

At 8:10 p.m., approximately one hour later, Doe texted Roe telling her that he was
“hanging out” with his friends and asking her what she was doing. Roe responded at
8:23 p.m. asking “Y’all aren’t going out,” and then stating “I’m eating pizza haha.” Id. f
70. After that exchange Doe texted Roe several times, but Roe either did not answer or
was slow to respond. On November 15, 2014, after receiving little communication from
Roe, Doe sent Roe the following message: “So I don’t mean to be [a] weirdo but I wanna
ask what’s up[?] [I]t’s bothering me.” Jd. 472. Six days later, Roe responded to this
message, saying “Hey, so I don’t know what you remember about when I was in your
room the other night, but you really scared me when you wouldn’t take no for an answer.
I think you’re a really nice guy, I really, really do, but you got really pushy and I just
wanted to let you know . . . [ hope you have an amazing weekend!!” Jd. Doe replied to
Roe’s message stating, “Ok I’m sorry I frightened you, you have a good one too.” Id. |
73. After this final text message, Doe and Roe never communicated again.

B. Marymount’s Investigation

On the evening of November 8, 2014, Roe allegedly told Z.M., another
Marymount student, that Doe had physically and sexually assaulted her. Z.M. was the
first person with whom Roe shared her assault allegations. According to the Complaint,

Roe did not tell anyone else about the alleged assault until late summer, early fall 2015,

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almost one year after the alleged incident, when she shared her allegations with C.S., her
resident assistant.’ In September 2015, C.S. filed a written report with Marymount
detailing Roe’s assault allegations, which led Marymount to initiate an investigation into
the November 8, 2014 incident.

Doe was first notified by Marymount officials of Roe’s allegations on September
8, 2015. On that same day Marymount issued a no-contact order which forbade Doe
from “mak[ing] [any] contact, direct or indirect with [Ms. Roe],” and from “discussi[ng] .
.. the order or the alleged acts that led to its issuance with other Marymount University
students or employees with the exception of support persons identified as Confidential
Resources per the University’s Sexual Harassment and Interpersonal Misconduct
Policy." Id. 82.

As part of the investigation, Marymount assigned two faculty or staff members,
Dr. Bernadette Costello and Mr. Paul Easton, to serve as investigators. The investigators
interviewed Doe on September 21, 2015. Initially, Dr. Costello informed Doe that he
would not be allowed to consult with his attorney, but she later relented, allowing Doe to

speak with his attorney briefly — for less than two-minutes — before the interview ended.

 

> The record does not indicate the exact date of the interaction between Roe and her resident
assistant. It appears, though, that Roe reported the assault to her resident assistant, who in turn
prepared a written incident report, sometime in September 2015.

* According to the Complaint, the No Contact Order precluded Doe from contacting either
directly or indirectly “other University students who might have information necessary or useful”
to his defense. Compl. JJ 83 — 84.
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Roe was then interviewed by the investigators on two separate occasions: October
1, 2015 and November 18, 2015. According to the Complaint, Roe made the following
statements to Marymount’s investigators in these interviews:°
e Roe told investigators that Doe held her down on the bed and tried to
remove her clothes by force;
e Roe stated that Doe performed oral sex on her without her consent
and that she “kneed him in the face” to stop him;
¢ Roe further stated that when she got up off the bed, Doe pushed her
into the door and put his fist up her vagina while she was standing
there.
e Roe claimed that Doe locked the door from the inside that prevented
her from leaving.
e Roe finally alleged that Doe took off his pants and threw her on the
bed, but that she “grabbed and yanked his penis,” and he let her
leave saying “if you don’t want me, that’s ok.” Jd. 105.
Doe alleges Roe lied to the investigators during her second interview when she was
confronted with the text messages Doe and Roe had exchanged on the evening of the
alleged incident. She allegedly told investigators that she sent those messages before the
alleged sexual assault, although the time-stamp on the messages revealed that they were

sent after the alleged assault.

 

° Doe further alleges that the statements Roe ultimately made to Marymount’s Title IX
investigators differed from the original written report produced by C.S., Roe’s resident assistant.

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Marymount’s investigators also interviewed Roe’s roommate, L.J., on October
22, 2015, and she allegedly told investigators that Roe had previously stated that she
wanted to “climb [Doe] like a [expletive] tree” and wanted him to “throw [her] against
the wall.” Jd. § 76. LJ. further reported that upon Roe’s return to their shared dorm
room on the evening of November 8" Roe was “happy and giddy,” showed off her
hickeys, and told her roommates that Doe was “good with his tongue.” Jd. 9 75. L.J.
further stated that after none of her roommates paid attention to her, Roe started drinking
heavily and her mood changed. Only then, after being ignored by her roommates and
consuming alcohol, did Roe claim that Doe had been “aggressive” with her and that she
“didn’t ask for it.” Jd. | 76. L.J. also allegedly told investigators that Roe was “good at
making herself seem like a victim” and that she often “bent the truth.” Jd. 105.

Another female student, W.R., was also interviewed by investigators and
confirmed that immediately following the alleged assault Roe bragged about the hickeys
she had received from Doe. W.R. otherwise corroborated L.J.’s account of the evening
of November 8, 2014.

After interviewing the relevant parties, the investigators prepared a draft
investigative report on November 24, 2015. The draft report was first provided to Doe
approximately sixty days after Roe filed her complaint, despite the fact that Marymount’s
Sexual Harassment and Interpersonal Misconduct Policy (“Policy”) provides only twenty
days for sexual assault investigations. Despite this delay, on December 1, 2015, Doe
was permitted to review a copy of the report and was also permitted to take some notes.

However, he was not allowed to have his attorney present when reviewing the draft

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report. When Doe’s attorney objected to his exclusion from this process, Marymount
permitted Doe to review the draft report a second time on December 7, 2015, this time
with his attorney present. But significantly, Doe and his attorney were not permitted to
take verbatim notes and were not permitted to retain a copy of the report.

Doe submitted his response to the draft investigative report on December 22,
2015, objecting to the report on multiple grounds, including:

e That Marymount’s investigators asked Doe the irrelevant question whether
he knew any rape victims and included Doe’s equally irrelevant response
that he did not know any sexual assault victims, but that he had watched
some crime shows on television that portrayed sexual assault victims;

e That Marymount’s investigators included irrelevant statements describing
Mr. Doe’s attorney’s behavior during the interviews, including that Mr.
Doe’s attorney asked for the air conditioner to be turned down and for an
opportunity to take a break to “advise Mr. Doe”;

e That Marymount’s investigators included Roe’s irrelevant and unverified
statement that Doe “sleeps around” to alleviate the pain he feels from his
sister’s death from cancer;

e That Marymount’s investigators included in their Report summaries of
interviews with three students who spoke about Doe’s general drinking
habits;

e That Marymount’s investigators included entries from Roe’s journal despite
the fact there was no effort made to authenticate these entries;

e That Marymount’s investigators failed to gather any physical evidence that
Roe had kneed Doe in the face on November 8, 2014, or that Doe had stuck
his fist up Doe’s vagina, and otherwise failed to mention the absence of
such evidence;

e That Marymount’s investigators failed to ascertain whether Roe had visited
a counselor immediately following the alleged sexual assault, as she
alleged, and that the investigators also failed to mention the absence of such
evidence.
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On February 2, 2016, Marymount informed Doe that an amended draft report had
been prepared and permitted him to review the new draft with his attorney. The new
draft, however, did not address any of Doe’s objections. In response to this amended
draft report, Doe raised the same objections he had raised to the original report.
Thereafter, Marymount prepared a second amended draft report which removed the
statements made by Doe’s attorney during Doe’s interview and also removed references
to Doe’s general drinking habits and the allegation that Doe “sleeps around.” None of
Doe’s other objections were sustained and Marymount made no effort to gather the
evidence Doe identified as pertinent to his case. Finally, on April 28, 2016, the third
amended draft report was issued by Marymount and reviewed by Doe and his counsel.
This third amended draft report still included statements and material that Doe had
consistently objected to since the issuance of the very first draft report, and also omitted
important facts that Doe insisted should be included.

Relying on this third amended draft report, Marymount’s investigators determined
“that there [was] sufficient information alleged to suggest that violations of [the
University’s sexual misconduct policy] may have occurred.” Jd. § 137. On May 12,
2016, the investigators referred the matter for a hearing before an adjudicator. The
investigators reached this conclusion over Doe’s repeated procedural objections. In his
Complaint, Doe alleges that Marymount’s procedures throughout the investigation were

grossly inadequate and were designed to find male students guilty of sexual assault.
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C. Disciplinary Proceedings

Marymount appointed Donald Lavanty (“Lavanty”), a business professor, to serve
as adjudicator of Doe’s case. When reviewing Doe’s case, Lavanty relied exclusively on:
(i) the investigative report, which Doe claims was one-sided and designed to find him
guilty, and (ii) Doe and Roe’s written impact statements. Doe claims he was effectively
precluded from presenting his case to Lavanty. Specifically, Doe alleges he was (i)
denied the opportunity to meet with Lavanty in person, (ii) denied the opportunity to
present additional exculpatory evidence, and (iii) denied the opportunity to call and
examine witnesses. On July 11, 2016, Lavanty, based on the meager record before him
and without oral argument by Doe, determined by a preponderance of the evidence that
Doe had violated Marymount’s sexual misconduct policy on November 8, 2014, and
recommended suspending Doe from Marymount through the summer semester of 2018.

Doe appealed Lavanty’s decision, an appeal that was ultimately denied on August
8, 2016, without providing Doe a hearing. Following the denial of his appeal, Doe was
suspended from Marymount for two years and banned from the campus.

D. This Action

In response to his suspension Doe filed this action, claiming: (i) that Marymount
violated Title [IX by erroneously suspending him based on a gender-biased sexual
misconduct policy, investigation and adjudication, when the evidence supported his

innocence;° (ii) that Marymount breached an implied contract with Doe by suspending

 
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him from school without just cause; (iii) that Marymount and McMurdock negligently
conducted Doe’s investigation and adjudication; and (iv) that Marymount violated the
common law of associations by expelling Doe without cause.

In response to Doe’s allegations, Marymount and McMurdock (collectively,
“defendants”) filed a threshold motion to dismiss challenging the legal sufficiency of
Doe’s Complaint. Specifically, defendants assert (i) that Doe’s Title IX erroneous
outcome claim fails because his Complaint falls short of creating a plausible inference
that the outcome of his Title IX adjudication was erroneous and that the outcome was
motivated, at least in part, by gender; (ii) that Doe’s breach of contract claim fails
because there was no contract between the parties; and (iii) that Doe’s tort claims fail
because he identifies no legally cognizable duty that has been breached.

Thus, at issue in this case is (i) whether Doe has pled sufficient facts to show that

he is likely innocent of sexual assault, that he was wrongfully adjudicated guilty of sexual

 

° Doe specifically identifies the following irregularities which he believes demonstrate gender-
bias: (i) that during his initial meeting with Marymount’s investigators he was only allowed to
speak with his attorney for less than two minutes; (ii) that Marymount refused to allow Doe’s
attorney to review the draft investigative report; (iii) that Doe was not given his own copy of the
investigative report, but was instead allowed to take notes after reviewing Marymount’s copy of
the report; (iv) that the investigative team overruled Doe’s objections to the report and included
this objectionable information in the final report that was provided to the adjudicator; (v) that
Marymount, through defendant McMurdock, refused Doe’s request to meet with the adjudicator
in person; (vi) that the adjudicator failed to consider any other evidence other than Doe and
Roe’s competing written accounts of the event (including exculpatory evidence Doe had
provided); (vii) that Marymount denied Doe access to records concerning the investigation and
adjudication (i.e. he was given no formal discovery); (viii) that Doe was not allowed to offer his
own evidence or call witnesses, and in fact was precluded from contacting potential witnesses by
Marymount’s No-Contact Order; (ix) that Doe was not allowed to confront or cross-examine
Roe; and (x) that Marymount subsequently allowed Lavanty, an individual with gender biases, to
serve as a Title IX investigator, evidencing its intent to adjudicate male students guilty of sexual
assault.

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assault by Marymount, and that this erroneous outcome is based in part on impermissible
gender biases by Marymount and its employees; (ii) whether paying tuition to
Marymount vested Doe with certain implied procedural protections that were ultimately
breached by Marymount; (iii) whether Marymount and McMurdock owed Doe a duty of
fairness and whether they violated this duty during Doe’s investigation and adjudication;
and (iv) whether Doe and Marymount were members of a common law association and

whether Marymount expelled Doe from the association without just cause.
II.

A court may dismiss a claim if, after accepting all well-pleaded allegations in the
complaint as true and drawing all reasonable factual inferences in the plaintiff's favor, the
complaint does not allege “enough facts to state a claim to relief that is plausible on its
face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). It is undisputed that
this familiar standard governs Doe’s breach of contract and tort claims; it is less certain,
however, whether Igbal/Twombly applies to Doe’s Title IX claim.’

Notably, the Second Circuit appears to apply a modified version of Igbal/Twombly

in discrimination cases.* In contrast, the Sixth Circuit has declined to modify the

 

7 After the Supreme Court’s decisions in Twombly and Iqbal, lower courts struggled to reconcile
these standards with the Court’s earlier decision in Swierkiewicz v. Sorema N.A., 534 U.S. 506
(2002). See, e.g., McCleary-Evans v. Maryland Dep’t of Transp., State Highway Admin., 780
F.3d 582, 585 (4th Cir. 2015).

* The Second Circuit has held that a complaint under Title IX “is sufficient with respect to the
element of discriminatory intent .. . if it pleads specific facts that support a minimal plausible
inference of such discrimination.” Doe v. Columbia Univ., 831 F.3d 46, 56 (2d Cir. 2016)
(emphasis added). The Second Circuit has reasoned that in discrimination cases Twombly/Igbal

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Igbal/Twombly standard in discrimination cases and has criticized the Second Circuit for
doing so. See Doe v. Miami University, et al.,  F.3d__, 2018 WL 797451, at *5 (6th
Cir. Feb. 9, 2018); Keys v. Humana, Inc., 684 F.3d 605, 610 (6th Cir. 2012). To the
extent there is a circuit split on the question of the applicable Rule 12(b)(6) standard in
discrimination cases, the Sixth Circuit has taken the approach that would likely be
followed by the Fourth Circuit.? Accordingly, Doe’s Title IX claim will be reviewed
using the Jgbal/Twombly standard and will only survive if Doe’s factual allegations give
rise to “more than [the] sheer possibility that [the] defendant(s] [] acted unlawfully.”

Iqbal, 556 U.S. at 678.
Ul.

Title IX prohibits gender discrimination in federally-funded education programs
and institutions, and is applicable to private universities that accept federal funding,
including all universities that enroll students who receive federally-guaranteed loans to
pay their tuition. See 20 U.S.C. § 1681(a) (“No person in the United States shall, on the
basis of sex, be excluded from participation in, be denied the benefits of, or be subjected

to discrimination under any education program or activity receiving Federal financial

 

must give way so that plaintiffs do not lose the benefit of McDonnell-Douglas’ temporary
presumption of discrimination. Littlejohn v. City of New York, 795 F.3d 297, 310 (2d Cir. 2015).

9 Although the Fourth Circuit has yet to address the pleading standard in Title IX cases, it is
unlikely that the Fourth Circuit would adopt the Second Circuit’s modified “minimal plausible
inference” standard given the Fourth Circuit’s recent Title VII decisions. Specifically, in
McCleary-Evans, a Title VII case, the Fourth Circuit held that a plaintiff's factual allegations
must be supported by a “reasonable inference that the decision-makers were motivated by an
impermissible bias.” 780 F.3d 582, 586 (4th Cir. 2015).

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assistance.”); see also Nat’l Collegiate Athletic Ass’n v. Smith, 525 U.S. 459, 466 (1999);
Columbia Univ., 831 F.3d at 53 (citing Yusuf v. Vassar Coll., 35 F.3d 709, 714-15 (2d
Cir. 1994)); A.W. v. Jersey City Pub. Sch., 486 F.3d 791, 805 (3d Cir. 2007). Title IX’s
prohibition is enforceable through an implied private right of action,’® and as such, “is
understood to bar the imposition of university discipline where gender is a motivating
factor in the decision to discipline.” Jd. In this case, Doe claims his gender was the
impermissible motivating factor in Marymount’s decision to suspend him for two years.

Although the Fourth Circuit has not yet had occasion to address the applicability
of Title IX in the context of student disciplinary proceedings, other courts have done so
and have permitted students like Doe to challenge university disciplinary actions based
on a variety of legal theories including the erroneous outcome theory and selective
enforcement theory.’! Here, Doe raises essentially an erroneous outcome claim.

As a historical note, Doe’s erroneous outcome claim is but the latest of a spate of
actions where a male student accused of sexual assault sues his university or college

alleging gender discrimination in violation of Title IX.'2 Some commentators,!?

 

'© See Davis Next Friend LaShonda D. v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 639 (1999)
(holding that Title [X created a private right of action).

"' See Miami Univ., 2018 WL 797451, at *8; Yusuf, 35 F.3d at 715; Mallory v. Ohio Univ., 76 F. App’x.
634, 638-39 (6th Cir. 2003); Saravanan v. Drexel Univ., No. CV 17-3409, 2017 WL 4532243, at *3
(E.D. Pa. Oct. 10, 2017); Stenzel v. Peterson, No. CV 17-580 (JRT/LIB), 2017 WL 4081897, at *4 (D.
Minn. Sept. 13, 2017); Doe v. Univ. of Cincinnati, 173 F. Supp. 3d 586, 606 (S.D. Ohio 2016); Bleiler v.
Coll. of Holy Cross, No. CIV.A. 11-11541-DJC, 2013 WL 4714340, at *5 (D. Mass. Aug. 26, 2013); Doe
v. Univ. of the S., 687 F. Supp. 2d 744, 756 (E.D. Tenn. 2009).

2 See, e.g., Doe v. Miami University, et al.,__ F.3d__, 2018 WL 797451, at *5 (6th Cir. Feb. 9,
2018); Plummer v. Univ. of Houston, 860 F.3d 767, 770 (Sth Cir. 2017), as revised (June 26,
2017); Doe v. Cummins, 662 F. App’x 437, 452 (6th Cir. 2016); Doe v. Columbia University,

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including some federal courts, !* have observed that this spate of cases can be traced to the

now-rescinded'° April 4, 2011 Dear Colleague Letter (“Dear Colleague Letter”) from the

 

831 F.3d 46 (2d Cir. 2016); Doe v. Rider Univ., No. 3:16-CV-4882-BRM-DEA, 2018 WL
466225, at *1 (D.N.J. Jan. 17, 2018); Doe v. Columbia College Chicago, et. al., No. 17-CV-
00748, 2017 WL 4804982, at *11 (N.D. Ill. Oct. 25, 2017); Rolph v. Hobart & William Smith
Colleges, F.Supp.3d__, 2017 WL 4174933, at *11 (W.D.N.Y. Sept. 20, 2017); Doe v. Case W.
Reserve Univ., No. 1:17 CV 414, 2017 WL 3840418, at *1 (N.D. Ohio Sept. 1, 2017); Doe v.
Univ. of Colorado, Boulder, 255 F. Supp. 3d 1064 (D. Colo. 2017); Naumov v. McDaniel Coll.,
Inc., No. GJH-15-482, 2017 WL 1214406, at *1 (D. Md. Mar. 31, 2017); Doe v. Coll. of
Wooster, 243 F. Supp. 3d 875, 881 (N.D. Ohio 2017); Doe v. Amherst Coll., 238 F. Supp. 3d 195
(D. Mass. 2017); Neal v. Colorado State Univ.-Pueblo, No. 16-CV-873-RM-CBS, 2017 WL
633045, at *1 (D. Colo. Feb. 16, 2017); Doe v. Lynn Univ., Inc., 235 F. Supp. 3d 1336, 1343
(S.D. Fla. 2017); Doe v. Brown Univ., 166 F. Supp. 3d 177, 190 (D.R.I. 2016); Doe v. Colgate
Univ., No. 515CVIO69LEKDEP, 2016 WL 1448829, at *1 (N.D.N.Y. Apr. 12, 2016);
Nungesser v. Columbia Univ., 169 F. Supp. 3d 353, 358 (S.D.N.Y. 2016); Collick, et al. v.
William Paterson Univ., et al., No. 16-471 (KM) (JBC), 2016 WL 6824374, at *12 (D.N.J. Nov.
17, 2016)), aff'd in part, remanded in part sub nom., No. 16-4344, 2017 WL 4857456 (3d Cir.
Oct. 26, 2017); Tsuruta v. Augustana Univ., No. 4:15-CV-04150-KES, 2015 WL 5838602, at *1
(D.S.D. Oct. 7, 2015); Yu v. Vassar Coll., 97 F. Supp. 3d 448, 452 (S.D.N.Y. 2015); Doe v.
Washington & Lee Univ., No. 6:14-CV-00052, 2015 WL 4647996, at *1 (W.D. Va. Aug. 5,
2015); Tanyi v. Appalachian State Univ., No. 5:14-CV-170RLV, 2015 WL 4478853, at *1
(W.D.N.C. July 22, 2015); Doe v. Univ. of Massachusetts-Amherst, No. CV 14-30143-MGM,
2015 WL 4306521, at *1 (D. Mass. July 14, 2015)

'3 See KC Johnson & Stuart Taylor, The Campus Rape Frenzy: The Attack on Due Process at
America’s Universities qa* ed., 2017); see also KC Johnson & Stuart Taylor, The Path to
Obama’s ‘Dear Colleague’ Letter, Washington Post, January 31, 2017, at Opinion; KC Johnson
& Stuart Taylor, Campus Due Process in the Courts, Washington Post, February 1, 2017, at
Opinion (“About one new due process lawsuit per week was filed last year against a college by a
student who had been found guilty of sexual assault by a campus tribunal, despite what the
lawsuits claim is strong evidence of innocence.”).

* See, e.g., Doe v. Ohio State Univ., 239 F. Supp. 3d 1048, 1072 (S.D. Ohio 2017) (“There is
little doubt that universities around the country have felt pressure to tighten the investigation and
punishments in sexual misconduct cases because this is a very sensitive issue.”); Doe v. Brandeis
Univ., 177 F. Supp. 3d 561, 572 (D. Mass. 2016) (“[U]niversities across the United States have
adopted procedural and substantive policies intended to make it easier for victims of sexual
assault to make and prove their claims and for the schools to adopt punitive measures in
response. That process has been substantially spurred by the [2011] “Dear Colleague” letter. The
goal of reducing sexual assault, and providing appropriate discipline for offenders, is certainly
laudable. Whether the elimination of basic procedural protections—and the substantially
increased risk that innocent students will be punished—is a fair price to achieve that goal is

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Department of Education’s Office of Civil Rights (“OCR”),'® which, on threat of
withholding federal funds, instructed universities to replace the “beyond a reasonable
doubt” or “clear and convincing” evidence standards previously used by many
universities when adjudicating sexual assault complaints with a “preponderance of the
evidence” standard. By this letter, OCR sought to lower or remove perceived barriers
faced by students reporting sexual assault, which naturally led to (i) the removal of
certain procedural protection for alleged assailants, and (ii) increased rates of conviction
for alleged assailants based on lower burdens of proof. Doe, like the many plaintiffs who
have raised similar erroneous outcome claims, argues that OCR’s Dear Colleague Letter
led universities to change their sexual assault policies to discriminate against students
accused of sexual assault, students who are almost invariably male.

In an erroneous outcome case, a plaintiff generally claims he “was innocent and
wrongly found to have committed an offense,” and challenges the “university disciplinary

proceeding on grounds of gender bias.” Gischel v. Univ. of Cincinnati, et al., No. 1:17-

 

another question altogether.”); Doe v. Washington & Lee Univ., No. 6:14-CV-00052, 2015 WL
4647996, at *9 (W.D. Va. Aug. 5, 2015) (The 2011 Dear Colleague Letter “provided guidance as
to how schools should conduct sexual misconduct investigations and warned them that if they
did not adequately address sexual assault on campus, then they could face loss of federal
funding, investigation by the OCR, and referral to the Department of Justice for civil or criminal
action.”’).

Is Stephanie Saul and Kate Taylor, Betsy DeVos Reverses Obama-era Policy on Campus Sexual
Assault Investigations, NY Times, September 23, 2017, at Al.

16 Russlynn Ali, Assistant Secretary of Education for Civil Rights, Dear Colleague Letter, U.S.

Dept. of Educ. at 11 (Apr. 4, 2011), available at:
https://www2.ed.gov/print/about/offices/list/ocr/letters/colleague-201 104. html

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CV-475, 2018 WL 705886, at *7 (S.D. Ohio Feb. 5, 2018) (quoting Yusuf; 35 F.3d at
715)). That is precisely what we have here: Doe claims he is innocent and that
Marymount wrongly found that Doe sexually assaulted Roe because of Marymount’s
allegedly gendered investigation and disciplinary proceedings.

For Doe’s erroneous outcome claim to survive Marymount’s motion to dismiss, as
the Sixth Circuit has already correctly observed, Doe must allege: “(1) ‘facts sufficient to
cast some articulable doubt on the accuracy of the outcome of the disciplinary
proceeding’ and (2) a ‘particularized . . . causal connection between the flawed outcome
and gender bias.’” Miami Univ., 2018 WL 797451, at *8 (quoting Doe v. Cummins, 662
F. App’x 437, 452 (6th Cir. 2016)). Importantly, “allegations of a procedurally or
otherwise flawed proceeding that has led to an adverse and erroneous outcome combined
with a conclusory allegation of gender discrimination [are] not sufficient to survive a
motion to dismiss.” Cummins, 662 F. App’x at 452 (quoting Yusuf, 35 F.3d at 715).
Simply put, Doe must plead sufficient facts to create an inference that he was wrongfully
accused and that he was wrongfully adjudicated guilty and disciplined, in part because of
his gender. Jd.

The first element of an erroneous outcome claim — casting articulable doubt on the
accuracy of the outcome — is not a significant barrier for Doe to cross. Doe can satisfy
this element in a number of ways including: (1) pointing to procedural flaws in the
investigatory and adjudicative processes, (ii) noting inconsistencies or errors in the
adjudicator’s oral or written findings, or (iii) challenging the overall sufficiency and

reliability of the evidence. In this case, Doe alleges certain procedural flaws in the

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investigatory and adjudicative process and also challenges the sufficiency and reliability
of the evidence against him.

Procedurally, Doe claims he was deprived the opportunity to identify and
interview potential witnesses, to gather exculpatory evidence, to meet with the
adjudicator in person, and to cross-examine Roe.'’ Additionally, some objectionable
material remained in the investigatory report while certain exculpatory material was
either left out of the report or was never investigated. These are just some of the
procedural insufficiencies and irregularities identified by Doe in his Complaint.
Although many of these procedural deficiencies may appear insignificant in isolation,
taken together they warrant concern that Doe was denied a full and fair hearing.

The procedural deficiencies alleged by Doe are sufficient, standing alone, to cast
doubt on the accuracy of the outcome of Doe’s Title IX hearing. But in this case Doe has
alleged more than procedural irregularities. More precisely, Doe challenges the
sufficiency of the evidence used to find him guilty of sexual assault. For example, Doe
alleges that his accuser, Roe, made inconsistent and incredible statements and that her

statements were contradicted by other evidence in the case. In this regard, Doe alleges,

 

7 Although colleges and universities are not required to hold formal trials, see, e.g., Doe v. Univ.
of Cincinnati, 173 F. Supp. 3d 586, 600 (S.D. Ohio 2016) (“Schools are not required to employ
procedures used in criminal trials”), institutions of higher education must avoid depriving
students accused of sexual assault of the investigative and adjudicative tools necessary to clear
their names even when there are no due process requirements. A student adjudicated guilty of
sexual assault by a college or university experiences significant direct and collateral
consequences, consequences that are not unlike a criminal conviction. It follows that colleges
and universities should treat sexual assault investigations and adjudications with a degree of
caution commensurate with the serious consequences that accompany an adjudication of guilt in
a sexual assault case. If colleges and university do not treat sexual assault investigations and
adjudications with the seriousness they deserve, the institutions may well run afoul of Title IX.

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among other things: (i) that there was no evidence that either Doe or Roe was physically
injured despite Roe’s allegations of a violent assault where she kneed Doe in the face and
Doe shoved his entire fist up Roe’s vagina; and (ii) that there is evidence that Roe was
“happy and giddy,” following Doe and Roe’s encounter on November 8, 2014, and that
she showed off her “hickeys” to her roommates and told them that Doe was “good with
his tongue.” Doe asserts that Roe’s contemporaneous statements and demeanor together
with the absence of any evidence of physical injury corroborates his version of events,
not Roe’s, and further asserts that no reasonable factfinder could have found him guilty
of sexual assault by a preponderance of the evidence on a fair and complete record.
Importantly, Doe claims that significant facts were either not brought to the adjudicator’s
attention or were ignored by the adjudicator.

In sum, the Complaint’s factual allegations cast articulable doubt on the accuracy
of the adjudicator’s decision that Doe sexually assaulted Roe. Doe has alleged that the
adjudicator was not provided with compelling exculpatory evidence that was omitted
from the investigative report and instead relied exclusively on the investigative report and
Doe and Roe’s competing narratives to reach his final conclusion that Doe sexually
assaulted Roe. Doe also contends that Roe’s statements to Marymount officials were
dishonest, inconsistent and factually improbable.'® Moreover, Doe argues that Roe’s

behavior immediately following the incident, as reported by multiple neutral observers, is

 

'8 For example, Doe asserts that it is physically impossible for him to have stuck his entire fist up
Roe’s vagina while she was standing, as Roe claimed in her oral and written statements to
Marymount officials.

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inconsistent with her allegation that she had just been brutally sexually assaulted.
Taking these allegations, viewed in the light most favorable to Doe, and granting Doe all
reasonable inferences, as is required at this stage,” it is clear that Doe has satisfied his
threshold pleading burden with respect to the articulable doubt element of an erroneous
outcome claim.

Because Doe has adequately pled the first element of an erroneous outcome
claim, the only remaining issue is whether Doe has alleged “particular circumstances
suggesting that gender bias was a motivating factor behind the erroneous finding.” Doe v.
Purdue Univ., No. 2:17-CV-33-PRC, 2017 WL 5483362, at *14 (N.D. Ind. Nov. 15,
2017) (quoting Yusuf, 35 F.3d at 715); see also Miami Univ., 2018 WL 797451, at *9
(“(A Title IX plaintiff] must [] allege facts showing a ‘particularized . . . causal

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connection between the flawed outcome and gender bias.’” quoting Cummins, 662 F.
App’x. at 452)).

To plead the causation or discrimination element of an erroneous outcome claim,
Doe must allege some factual material that creates a plausible inference that the
University’s decision was infected with gender bias. When reviewing whether a Title IX

plaintiff has pled the requisite gender bias, other courts have considered the following

types of factual allegations: “statements by members of the disciplinary tribunal,

 

'? Harbourt v. PPE Casino Resorts Maryland, LLC, 820 F.3d 655, 658 (4th Cir. 2016) (“[W]e
accept as true the well-pled allegations of the complaint and construe the facts and reasonable

inferences derived therefrom in the light most favorable to the plaintiff.” citing Jgbal, 556 U.S. at
678)).

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statements by pertinent university officials, or patterns of decision-making that [] tend to
show the influence of gender.” Cummins, 662 F. App’x at 452 (quoting Yusuf, 35 F.3d at
715). Stated differently, a Title IX plaintiff successfully alleges gender bias if he or she
points to statistical evidence of gender bias in the University’s decision making, policies
and procedures that are designed to reach gender-specific outcomes, and/or statements by
university officials evidencing gender bias. Id.

Doe raises many allegations which he believes demonstrate Marymount’s gender
bias. But one particular allegation is noteworthy because, if accepted as true, it reveals
that Doe’s adjudicator, Professor Lavanty, adhered to certain gendered beliefs.
Specifically, Doe alleges that in a subsequent sexual assault investigation at Marymount,
a male student accused a female student of touching his genitals without his consent and
of pushing his hand into her genitals without his consent. Professor Lavanty served as
the investigator in that case and allegedly asked the male student “were you aroused” by
this unwanted touching? When the student responded, “no,” Lavanty, in apparent
disbelief, allegedly asked the male student again, “not at all?” This unpleasant exchange
between Lavanty and another male student at Marymount, a fact which must be accepted
as true at this stage, reveals that Lavanty’s decision-making was infected with
impermissible gender bias, namely Lavanty’s discriminatory view that males will always
enjoy sexual contact even when that contact is not consensual.

Because Lavanty served as Doe’s adjudicator and was ultimately responsible for
determining Doe’s guilt or innocence, any evidence of Lavanty’s gender bias is

particularly probative. If Lavanty possessed the outdated and discriminatory views of

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gender and sexuality alleged in Doe’s Complaint, these views would have naturally
infected the outcome of Doe’s Title IX disciplinary proceedings. Therefore, this
allegation alone is sufficient to satisfy Doe’s burden to plead a fact that creates an
inference of gender discrimination in Marymount’s disciplinary proceedings.

In addition to the allegation regarding Lavanty’s gender bias, Doe also identifies
several other facts which he believes demonstrate gender bias on the part of Marymount

and its employees:

e The provision in Marymount’s sexual assault policy which provides a complainant
whose allegations are determined to lack merit with a de novo review by
Marymount’s Title IX team, while denying a respondent the same opportunity if
the investigative team reaches the opposite conclusion.

e The inclusion in the final investigative report—over Doe’s repeated objections—
of: (i) the investigative team’s question to Doe as to whether he knew anyone who
had been raped and Doe’s response that he did not, but that he had watched crime
shows on television; and (ii) alleged entries in Roe’s journal, which Roe did not
provide to the investigative team until more than a month after she first mentioned
the journal.

e The refusal of the Title IX coordinator, McMurdock, and adjudicator, Lavanty, to
permit oral argument by Doe or his attorney or to permit an informal meeting with
Lavanty, Doe and his attorney.

e Lavanty’s failure to consider evidence that supported Doe’s claims and refuted
Roe’s allegation, including the fact that Roe sent friendly text messages to Doe
shortly after he allegedly assaulted her and that other students provided statements
that Roe was “happy” and “giddy” following the alleged incident.

e The investigative team’s refusal to make any effort—despite Doe’s repeated
requests that they do so—to obtain evidence that would refute allegations made by
Roe, including witnesses that could state that Doe had no marks on his face (which

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is inconsistent with Roe’s claim that she kneed Doe in the face), or any evidence
of physical injury that would refute Roe’s claim that Doe put his entire fist in her
vagina while she was standing.

e Marymount’s refusal to provide an exception to the no-contact order which
precluded Doe from discussing Roe’s allegations with other Marymount students
who were witnesses or potential witnesses, hampering his ability to prepare his
own defense.

e Marymount’s investigation lasted 53 business days, nearly three times the 20 day
timeframe for completion of an investigation set out in Marymount’s disciplinary
policies. And it took Marymount approximately 335 days to resolve the complaint
against Doe, more than five times the length of the 60 day timeframe set forth by
Marymount’s disciplinary policies.

e Marymount’s refusal to provide Doe unfettered access to the final investigative
report, namely by preventing him or his attorney to make a copy or take verbatim
notes.

_ © The fact that the University credited Roe’s purportedly implausible allegations
over the accounts of Doe and other neutral witnesses.

e Marymount’s decision to employ and retain biased investigators and adjudicators,
including Lavanty and Ms. Okubadejo.

o Specifically, Ms. Okubadejo is quoted in a May 12, 2014 interview as
saying:

I think the statistics also show that most people who
complain about sexual assault are telling the truth.
And so if most people who complain about sexual
assault on campus are telling the truth and if these
cases aren’t being handled or aren’t being handled
appropriately through the criminal system or aren’t
being taken to conviction through the criminal system

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then what is happening to these people who are
complaining about sexual assault on campus.

See Pl’s Compl. at J 195.

Doe also alleges that Marymount’s sexual assault policy was influenced by the
Dear Colleague Letter and other political forces and that the University’s procedures
were designed to convict male students of sexual assault, whether they were guilty or not.
Specifically, Doe alleges that Marymount’s Deputy Title [IX Coordinator admitted to
Doe’s parents during a face-to-face meeting that “the Title [IX process is increasingly
politicized, especially in Virginia.” Jd. § 107. This statement by a senior university
official appears to be an implicit acknowledgment that Marymount’s sexual assault
policies and Title IX procedures were influenced, at least in part, by political pressure to
convict respondents in sexual assault cases — respondents who are almost invariably
male.

Whether any one of Doe’s additional allegations of gender bias, standing alone,
would satisfy Doe’s pleading burden is irrelevant here as Doe’s allegation that his
adjudicator demonstrated gender bias in a later case is sufficient to defeat Marymount’s
motion to dismiss. Moreover, viewing all of Doe’s allegations collectively, he has clearly
nudged his Title [IX claim over the Rule 12(b)(6) bar. Therefore, the University’s motion
to dismiss Doe’s Title IX erroneous outcome claim must be denied.

Ill. Breach of Contract and Breach of Duty of Good Faith and Fair Dealing

Marymount also moves to dismiss Doe’s breach of contract claim, arguing that

Marymount’s Student Handbook and Sexual Assault Policy are not contracts.

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Marymount is correct in this regard. Under Virginia law, a University’s student conduct
policies are not binding, enforceable contracts;”” rather, they are behavior guidelines that
may be unilaterally revised by Marymount at any time. Thus, Doe cannot rely on
Marymount’s Student Handbook or Sexual Assault Policy as enforceable contracts or as
terms of an implied contract.

Doe concedes that Marymount’s Student Handbook or Sexual Assault Policy are
not contracts. Doe claims instead that he entered into an implied contract with
Marymount and that the payment of tuition guarantees that he cannot be expelled for an
arbitrary and capricious reason. Thus the question is whether an implied contract existed
between Doe and Marymount under Virginia law simply because Doe paid tuition, and if
so, whether Marymount breached a term or requirement of that implied contract.

Significantly, the parties have not cited any Supreme Court of Virginia decision
holding that an implied contract is created between a student and his or her university

merely through the payment of tuition. In support of his implied contractual theory, Doe

 

2° See Brown v. Rectors & Visitors of Univ. of Virginia, 361 F. App’x 531, 534 (4th Cir. 2010)
(holding there were no factual allegations that the parties understood the UVA’s student
handbook to be an enforceable contract between the University and its students); Tibbetts v. Yale
Corp., 47 F. App’x 648, 656 (4th Cir. 2002) (applying Virginia law and holding that “[Yale’s]
Student Handbook is not a contract, but merely a university policy.”); Jackson v. Liberty Univ.,
No. 6:17-CV-00041, 2017 WL 3326972, at *7 (W.D. Va. Aug. 3, 2017) (“The Liberty Way fails
to meet Virginia’s definition of a contract. It is not binding upon Liberty as it contains
requirements for students only. The promises that Liberty allegedly makes are mere aspirational
statements of educational ideals; they are so vague and indefinite that they cannot be enforceable
terms.”); Doe v. Washington & Lee Univ., No. 6:14-CV-00052, 2015 WL 4647996, at *11 (W.D.
Va. Aug. 5, 2015) (“[T]he Student Handbook does not form a mutuality of engagement between
W&L and [its students], and therefore does not create a contract. . . [Moreover,] the terms of the
Interim Sexual Harassment and Misconduct Policy cannot plausibly be considered anything
other than ‘policies,’ which . . . are not contractual in nature because they are subject to
‘continual examination and revision.””) (internal citations omitted).

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cites a single federal district court case concluding that an implied contractual

relationship arises from the payment of tuition.”!

To accept Doe’s argument would
impermissibly expand Virginia law without any input from Virginia’s highest court.”

In any event, assuming without deciding that an implied contract existed between
Doe and Marymount, the terms of any implied contract between these two parties are
exceptionally narrow. More specifically, Doe’s payment of tuition could only result in a
single implied term: i.e. Doe cannot be suspended for an arbitrary and capricious reason
or no reason at all. There are no factual allegations in Doe’s Complaint which support a
plausible inference that Marymount breached this implied term. Accepting all of Doe’s
allegations as true, Marymount suspended him because of Roe’s allegation of sexual
assault. Regardless of whether the outcome of the disciplinary proceeding was erroneous
or not, Marymount did not act arbitrarily or capriciously by suspending Doe and therefore

did not breach the only term of the implied contract. See, e.g., Butler v. Rector & Bd. of

Visitors of Coll. of William & Mary, 121 F. App’x 515, 521 (4th Cir. 2005) (Even

 

*I See Krasnow v. Va. Polytechnic Inst. & State Univ., 414 F. Supp. 55, 56 (W.D. Va. 1976)
(“[S]tudents enrolled in state supported institutions acquire a contractual right for the period of
enrollment to attend, subject to compliance with scholastic and behavioral rules of the institution,
and to dismissal for violation thereof, provided the dismissal was not arbitrary or capricious.”);
see also Spectra-4, LLP v. Uniwest Commercial Realty, Inc., 290 Va. 36, 43, 772 S.E.2d 290,
293 (2015) (discussing the law of implied contracts in Virginia).

22 See Sheehan v. Saoud, 650 F. App’x 143, 155 (4th Cir. 2016) (“Absent a strong countervailing
federal interest, the federal court ... should not elbow its way into this controversy to render what
may be an uncertain and ephemeral interpretation of state law.” quoting Time Warner Entm’t-
Advance/Newhouse P’ship v. Carteret-Craven Elec. Membership Corp., 506 F.3d 304, 314 (4th
Cir. 2007));Gariety v. Vorono, 261 F. App’x 456, 463 (4th Cir. 2008) (“In reviewing state law, a
federal court ‘should not create or expand [a] State’s public policy.’” quoting St. Paul Fire &
Marine Ins. Co. v. Jacobson, 48 F.3d 778, 783 (4th Cir. 1995)).

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“(a]ssuming that William and Mary had a contract with Butler. .. . Butler [] has not
presented evidence demonstrating that, by expelling her in the manner that it did, William
and Mary breached an [] implied promise to Butler.”).

Doe seeks to expand the basic implied contract he ostensibly had with Marymount
by importing a host of implied contractual terms. In doing so, Doe attempts to erect a
veritable procedural fortress around him, arguing that Marymount could not suspend him
without complying with these implied conditions. Doe’s position is an attempted end-run
around clear precedent holding that student handbooks and disciplinary policies are not
contracts. Doe attempts to label the procedural protections provided by Marymount’s
Student Handbook and Sexual Assault Policy as implied terms, but adopting Doe’s
position would prejudice Marymount because it never assented to being bound by the
procedural protections identified by Doe. Nothing in the act of paying tuition implies
that a student is entitled to any specific procedural protections. Instead, to the extent any
contract can be implied between a student and his or her university, the student is only
protected from irrational, haphazard treatment by the university. Doe may disagree with
Marymount’s decision and he may believe he was treated unfairly, but he cannot imply a
host of contractual terms to which the parties never assented. Instead, Doe will have to
rely on the statutory remedy provided by Title IX.

For these reasons Doe’s breach of contract claim fails; and for the same reasons,

Doe’s claim for breach of the implied covenant of good faith and fair dealing also fails.”

 

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IV. State Tort Claims

In addition to his Title [X and contractual claims, Doe raises two novel tort claims.
Both of these claims must be dismissed, however, because neither claim is established in
Virginia.

A.

First, Doe argues that there is a special relationship between a university and its
students and that Marymount and McMurdock owed and breached a duty to exercise
special care throughout Doe’s disciplinary proceedings. Stated simply, Doe believes
Marymount owed him a duty to be fair, especially considering the impact that school
disciplinary proceedings can have on a student’s life. In support of his belief, Doe cites a
Tennessee federal district court decision and a Minnesota Court of Appeals decision, both
of which have recognized a special relationship between a university and its students
giving rise to certain duties. See Doe v. Univ. of the South, 4:09-CV-62, 2011
WL1258104 at *21 (E.D. Tenn. 2011); Rollins v. Cardinal Stritch Univ., 626 N.W.2d
464, 470 (Minn. Ct. App. 1981). Unfortunately for Doe, the United States District Court
for the Eastern District of Tennessee and the Minnesota Court of Appeals do not make
Virginia law and there appears to be no Virginia law establishing the duty he claims

Marymount and McMurdock breached. Consistent with the Fourth Circuit’s published

 

3 To state a claim for a breach of the implied covenant of good faith and fair dealing under
Virginia law, a plaintiff must plead “(1) a contractual relationship between the parties, and (2) a
breach of the implied covenant.” Enomoto v. Space Adventures, Lid., 624 F. Supp. 2d 443, 450
(E.D. Va. 2009) (citing Charles E. Brauer Co. v. NationsBank of Va., N.A., 251 Va. 28, 466
S.E.2d 382 (1996)). Here, there was no breach of an implied covenant. Marymount did not act
arbitrarily by suspending Doe.

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opinion in Broussard v. Meineke Disc. Muffler Shops, Inc., this federal district court will
not recognize a new common law tort that has not been previously recognized by the
Supreme Court of Virginia or Virginia Court of Appeals. See Broussard v. Meineke
Disc. Muffler Shops, Inc., 155 F.3d 331, 348 (4th Cir.1998) (“As a federal court
exercising concurrent jurisdiction over this important question of state law we are most
unwilling to extend North Carolina tort law farther than any North Carolina court has
been willing to go.”). Thus, Doe’s negligence claim against Marymount and McMurdock
fails as a matter of law because the claim is not currently recognized in Virginia.
B.

Doe also asserts that Marymount breached the common law of associations. In
support of this particular tort claim, Doe cites a single 1994 Loudoun County Circuit
Court decision. See Corrigan v. N.S. Skirmish Ass’n, Inc., No. 14616, 1994 WL
1031211, at *2 (Va. Cir. Ct. Loudoun Cnty. June 9, 1994). In the interests of full
disclosure, the Court discovered an additional Virginia Circuit Court decision that
mentions the law of associations in passing, but does not meaningfully apply it in any
way. See Helton v. Univ. of Richmond, 2 Va. Cir. 254 (Va. Cir. Ct. City of Richmond
1985). Additionally, there is at least one Supreme Court of Virginia decision which
appears to apply the common law of association in the corporate context, see Gottlieb v.
Econ. Stores, Inc., 199 Va. 848, 858 (Va. 1958), but not in the context of higher
education. The question then is whether these cases are sufficient to warrant a federal

court recognizing the legal duty Doe claims Marymount owed to him and breached.

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Two circuit court decisions from 1985 and 1994 do not make Virginia law; and
federal courts are not bound to follow state trial court decisions in exercising their

supplemental jurisdiction.”

And even if these decisions were considered binding
authority on Virginia law, they are not helpful to Doe.

First, the Corrigan decision is factually inapposite because it involved a corporate
association of civil war reenactors and whether the board of directors could expel a
member for apparent misconduct. Corrigan in no way pertains to the relationship
between a university and its students, or the application of a university’s disciplinary
codes. Moreover, to its credit, the Corrigan court recognized that if the law of
associations applies in Virginia, the role of reviewing courts is extremely limited. For
these reasons, Corrigan is of no assistance to Doe.

Second, the Helton decision admittedly mentions the law of associations in the
context of a university disciplinary proceeding. Specifically, the Helton court concluded
that a University of Richmond student was disciplined unfairly and was entitled to relief.

It is difficult to discern, however, what legal theory the Helton court relied on in reaching

its conclusion. Thus, in the end, the Helton decision is also of no assistance to Doe.

 

*4 See King v. Order of United Commercial Travelers of America, 333 U.S. 153, 161 (1948)
(“[A] Court of Common Pleas does not appear to have such importance and competence within
South Carolina’s own judicial system that its decisions should be taken as authoritative
expositions of that State’s law.”); Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co. of
S.C., 433 F.3d 365, 370 (4th Cir. 2005) (“[A] federal court sitting in diversity is not bound by a
state trial court’s decision on matters of state law.”).

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Finally, the Supreme Court of Virginia’s Gottlieb decision admittedly recognizes
that corporate entities are generally permitted to expel their shareholders or members, but
not for arbitrary or bad faith reasons:

[C]Jorporations . . . have an inherent power to
disfranchise their members for any one of three causes,
namely, offenses of an infamous character indictable at

common law; offenses against the member’s duty as a
corporator; and offenses compounded of the two.

In reviewing an action expelling a member of a corporation,

[a court] may inquire whether the member was given

reasonable notice of the hearing of the charge against him,

whether he was afforded an opportunity to be heard, and

whether the hearing and expulsion were in good faith.
Gottlieb, 199 Va. at 855-57 The Gottlieb court curtailed the authority of reviewing
courts to question the decision of a corporation to expel its member(s) to those cases
involving “fraud, bad faith, breach of trust, gross mismanagement, or ultra vires acts.”
Id. at 857.

Although the Supreme Court of Virginia appears to have recognized certain duties
members of corporate associations owe to one another, it is uncertain whether Virginia’s
highest court would expand those duties to the situation presented here: the relationship
between a university and its students. Because the expansion of the law of associations
into the educational sphere could have significant policy implications, Virginia law will
not be expanded in this federal case when there is no indication that Virginia’s appellate

courts would so expand the law. See Wade v. Danek Medical, Inc., 182 F.3d 281, 286

(4th Cir.1999) (“In predicting whether the Virginia Supreme Court would apply an

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equitable tolling rule, we are mindful of the general principle that [i]n trying to determine
how the highest state court would interpret the law, we should not create or expand that
State’s public policy”) (internal marks omitted).

It is worth noting that even if the principles articulated in Gottlieb applied to
institutions of higher education, Doe’s claim would still fail. Gottlieb is clear that in
“cases where the evidence is conflicting, the action of the [association] is conclusive,”
and reviewing courts should not “interfere with the merits of the decision.” 199 Va. at
857-58. In this case, there was conflicting evidence — namely, Roe’s statements that Doe
sexually assaulted her — and therefore Marymount’s “action is conclusive.”

For these reasons, Doe’s law of associations claim must be dismissed.

V. Conclusion

For the reasons stated in this Memorandum Opinion, Doe’s Title IX claim
survives Marymount’s motion to dismiss. However, Doe’s contractual and tort claims
must be dismissed.

An appropriate order will issue.

 

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